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EXHIBIT 13
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Il.

Expert Witness Report of Trevor Petersen in the Matter of
Josh Chatwin v. Draper City et al

Statement of the Assignment

I have been retained to perform an evaluation of facts, and evidence and offer
opinions regarding the actions of the Defendants which pertain to the Use of
Force towards the Plaintiff, as well as, respond to proper training
procedures, weapon retention, arrest control tactics, and safety
considerations;
1) Whether Officer Patterson used proper force and adequate
procedures designed to ensure the safety of the officers and arrestee
2) Whether Officer Patterson used excessive force under the
circumstances present.
3) Did Draper City provide adequate training and procedures when
interacting with intoxicated subjects.
My opinions expressed herein are based upon my examination of the
materials itemized in Section III, and I reserve the right to revise my opinions
if new information comes to light. I am being compensated at a rate of $150
per hour for all tasks performed in connection with this matter.

Background and Qualifications

I completed my Category I Law Enforcement Officer (LEO) certification from
the Utah Police Officer Standards and Training (POST) in 2000. After
receiving my LEO certification, ] was employed by the Utah State Parks and
Recreation. Where I provided marine enforcement on Lake Powell in Utah.

Following my employment with the Utah State Parks and Recreation, I was
employed by the Kane County Sheriffs Office as a narcotic agent. I worked
several years as an undercover agent, posing as a student, in several high
schools in Utah. I also worked as an investigative agent investigating cases
involving the manufacturing, trafficking, distribution, and use of controlled
substances. I worked with local, state, and federal law enforcement.

After my employment with the Kane County Sheriff's Office, I was employed
with the Weber County Sheriffs Office. | served in many capacities during
my employment which included; patrol, Field Training Officer (FTO), SWAT,
less-lethal weapons/chemical munitions instructor, firearms instructor, gang
/organized crime investigator, homicide investigator, Use of Force committee
member (Weber County Sheriffs Office), criminal intelligence, financial
crime investigator, Internet Crimes Against Children (ICAC) investigator, and
Utah (POST) police academy instructor. During this time, I also instructed
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many law enforcement related courses involving cyber crimes and digital
forensics, crimes in progress, vehicle searches, felony stops, active shooter,
hostage rescue, rappelling, weapons retention, decision making, firearms
safety and marksmanship, less-lethal munitions deployment, and arrest
control. I drafted department policy and procedures regarding financial and
Internet crimes. In the course of my employment over the years, I have
written, drafted, and instructed training and policies designed to ensure the
safety of a law enforcement officer, arrestee, and citizens. I also conducted
training classes involving the use of force involving individuals under the
influence of alcohol. I currently hold instructor certifications with the
Federal Bureau of Investigations (FBI) and the National Tactical Officer’s
Association (NTOA).

After my employment with the Weber County Sheriff's Office, | was employed
with the Engility Corporation. I served as a Law Enforcement Professional
(LEP) in Afghanistan. | trained the Afghanistan National Police (ANP) and
coalition forces on law enforcement related subjects, including but not
limited to; firearms safety and marksmanship, tactical questioning, battle
damage assessments, post Improvised Explosive Device (IED) blast
assessments, post mortem DNA and fingerprint collection/Enemy Killed In
Action (EKIA) identification, detainee operations, investigation techniques,
and digital forensics/biometrics. During my time in Afghanistan, I instructed
and certified coalition forces on the use of less lethal munitions and use of
force.

After my employment with the Engility Corporation, | was employed with
DynCorp International. I served as a Police Advisor working with the United
States Department of State and the United Nations in Haiti. I served as the
assistant team leader for the United Nations Special Weapons And Tactics
(SWAT) unit. I provided training and oversight of the Haitian and Jordanian
SWAT teams. I trained and evaluated the SWAT teams on subjects, including
but not limited to; firearms safety and marksmanship, arrest control tactics,
use of force, human rights violations, hostage rescue, rappelling, physical
fitness, street survival, vehicle assaults, open area searches, dynamic entry
techniques, detainee operations, and community policing.

Publications and Expert Testimony

During the course of my career, I have not commercially published anything
and | have not testified in a deposition, court hearing, or any civil hearing, as
an expert witness. I have drafted, published, and demonstrated several
training presentations and department policies and procedures, such as:
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IV.

a) (ISEE) Identifying & Seizing Electronic Evidence Training Power
Point- December 2011

b) (ICAC} Internet Crimes Against Children Awareness Video- April 2011

c} Financial Crimes Training Power Point- April 2010

d) Robbery Training Power Point- October 2009

e) Weber Metro SWAT Less Lethal Training Power Point- August 2011

f) Identity Crimes Policy and Procedure (Weber County Sheriff's Office)
Apri! 2008

Materials Examined

I have reviewed:
a) The complaint in Chatwin v. Draper City et al
b) The deposition of Officer Joshua Patterson
c) The deposition of Officer David Harris
d) The deposition of Officer Heather Baugh
e) Witness statement of Kathy Torrence
f) Preliminary Hearing testimony Kathy Torrence
g) Witness statement of Mehdi Mahmudi
h) Witness statement of Steve Merrin
i) The deposition of Steve Merrin
j) Witness statement of Chris Middlemiss
k) Witness statement of Mike Washburn
I) Witness statement Jason Scott
m) The deposition of Jason Scott
n) Crime report and information for May 18th 2010

Opinions

After reviewing all the materials stated herein, in Section IV of this report, it
is my opinion that Officer Joshua Patterson, on the day of May 18 2010, did
not take the proper safety precautions, considering the intoxication level of
Josh Chatwin and being handcuffed, on a concrete surface, as it pertains to
the prisoner safety, and did not use the proper arrest control tactics, weapon
retention tactics, and use of force, while interacting with an arrestee, as
proper law enforcement training would have provided.

It is my opinion, based upon review of the facts presented, the materials
referenced in this report and my training and experience, that Officer
Patterson used excessive force in executing the arrest of Josh Chatwin,
expecially in view of the fact that Josh Chatwin was handcuffed behind his
back, was intoxicated, and therefore unsteady on his feet.

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It is also my opinion, that Officer Patterson failed to use proper procedures
that are designed to ensure the safety of the officers and an arrestee, who is
handcuffed and intoxicated.

It is my futher opinion, that the training provided by Draper City to it's
officers concerning the proper procedures to execute the arrest of a
hancuffed/intoxicated individual was completely inadequate.

In Officer Joshua Patterson’s deposition, Officer Patterson admits to receiving
training in the Utah State Police Officer's Standards and Training (POST) ona
“proper search”. Officer Patterson testifies to, “all the techniques of doing a
safe search, of officer safety, of suspect safety”. Officer Patterson’s deposition
he states, “It’s mostly procedures of incoming suspect standing, kneeling
prone, techniques to use for your safety, techniques to use for their safety”.
In this case, were the proper precautions taken towards the “suspect safety”?

It is my opinion that the proper safety precautions, for the officers and
suspect, were not taken into consideration. In Officer Patterson's deposition,
he testifies that due to the intoxication level of Josh Chatwin, he has to hold
Josh Chatwin up, so he doesn’t fall and hit the ground. Officer Patterson
testifies to his knowledge of performing a “search incident to arrest” of
individuals who are standing, kneeling, and prone. Officer Patterson also
testifies to moving Josh Chatwin to Officer Harris’ patrol truck, in an attempt
to keep Josh Chatwin in a standing position. In my opinion, the proper safety
precautions, when dealing with a heavily intoxicated person, would be to put
them into kneeling or prone position, and consider the surface in which the
search is being conducted, where the arrestee was not a risk of falling during
the search. In my opinion, moving Josh Chatwin next to Officer Harris’ patrol
truck to conduct a search of his person puts Josh Chatwin at a greater risk of
injury, if he does fall, because Officer Harris’ patro] truck is located on
concrete.

According to depositions from the officers, Josh Chatwin is constantly
swaying and barely able to keep his own balance, yet Officer Patterson is the
only officer, out of 3 officers on scene, dealing with Josh Chatwin. Officer
Harris performs an inventory search of Josh Chatwin’s vehicle and leaves
Officer Patterson to search and secure Josh Chatwin. There is no urgency to
search a vehicle with no other occupants, prior to searching and securing an
arrestee. In my opinion, Officer Harris either felt that Officer Patterson was
capable of securing Josh Chatwin himself, or Josh Chatwin was not a credible
threat to the officer’s safety.

Officer Baugh testified in her deposition that she was on scene to assist with
this incident, yet Officer Baugh has only attended the National Animal
Contro] Academy (NACA). Officer Baugh has been trained with the use of an
ASP, pepper spray, and Taser, as it relates to animals. According to Officer
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Baugh’s deposition, she states that she works for the Draper City Police
Department and has been ordered, by her supervisor Officer Wilson and
Chief Mac Connole, to assist with police calls for service, even if they don’t
relate to an animal issue. Officer Baugh testifies that she has not attended the
Utah Police Officer Standards and Training (POST) certification courses, nor
had any formal training from the Draper City Police Department. Officer
Baugh testified if someone aggressive came toward her that, “That is when
my Taser would come handy, | am assuming”, although Officer Baugh has not
been certified in the use of a Taser against a person. In my opinion, Officer
Baugh has been ordered to assist with law enforcement issues, when she has
not been trained or certified to handle these types of calls.

Officer Baugh testifies to being present and observing this incident. Officer
Baugh observes Josh Chatwin’s fingers touching the front of Officer
Patterson's duty belt, but does not observe Josh Chatwin attempt to remove
Officer Patterson’s duty weapon. Officer Baugh also does not hear the
retention lock release on Officer Patterson’s holster.

Officer Patterson testifies that he heard the retention lock on his duty hoister
unlock and see that Josh Chatwin has three fingers on his duty weapon.
Officer Patterson also testified that he had a hold of the handcuffs, on Josh
Chatwin, with his left hand. Officer Patterson then places his right hand on
Josh Chatwin’s bicep and “moves” him to the ground. At this same moment,
Josh Chatwin becomes completely limp, falls to the ground, and hits his head
on the concrete. In my opinion, proper weapons retention tactics, taught in
local, state, and federal law enforcement, teaches you to place your hand on
top of a suspect’s hand, which is attempting to remove the duty weapon and
push down, in an attempt to keep the weapon in the holster. The second part
of these tactics, would be to move the duty weapon away from the threat and
perform other soft hand techniques (i.e., wrist locks, twist locks, pain
compliance, etc.) to break away the suspect’s hold on the weapon. In my
opinion, while Josh Chatwin is handcuffed, this not only restricts his ability to
injury himself or others, but the handcuffs can be used to assist in twist lock
controls. In my opinion, by moving Josh Chatwin away, turning him
approximately 270 degrees away, while handcuffed and while he allegedly
had a hold of the Officer Patterson's duty weapon, without the retention lock
engaged, would allow the weapon to come out of the holster. This would in
turn cause a greater threat to the officers, suspect, and bystanders. It is my
opinion, that the fact that Josh Chatwin is in handcuffs, this in itself should be
a safety consideration, before throwing him to the ground. Josh Chatwin
does not have the ability to stop himself from falling or grab on to anything,
because his hands are handcuffed behind his back. It is also my opinion, that
if Officer Harris had been assisting in restraining Josh Chatwin, while Officer
Patterson performed the search of Josh Chatwin’s person, the injury to Josh
Chatwin would have been avoided.
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VI.

VII.

According to the witness statement of Kathy Torrence, she observes the
entire incident on May 18% 2010. Kathy Torrence observed two officers take
Josh Chatwin into custody, while they were located on a grassy area. Kathy
Torrence observes the two officers conduct a search of Josh Chatwin’s
person, while on the grassy surface. One officer (Officer Harris) goes to Josh
Chatwin’s vehicle (to perform an inventory search), while the other officer
(Officer Patterson) moves Josh Chatwin to a patrol truck located in the
driveway. At this point, Officer Patterson throws Josh Chatwin to the ground,
causing significant bodily injury to Josh Chatwin’s head. In my opinion,
according to Kathy Torrence’s written statement, testimony at preliminary
hearing, and deposition, two officers used the proper procedures, when
initially taking Josh Chatwin into custody. Two officers assisted with placing
Josh Chatwin in handcuffs. A search incident to arrest, was conducted on
Josh Chatwin’s person, by two officers, but Officer Harris leaves Officer
Patterson to secure Josh Chatwin alone. In my opinion, if Josh Chatwin was
resisting arrest and/or an unruly individual, Officer Harris should have
assisted with securing Josh Chatwin safely in the patrol truck.

Methodology

The methodology used in coming to my opinions is standard methodology
used by someone with my training and experience in evaluating the force
used in an arrest, is the methodology generally accepted by my peers in the
law enforcement community and is in accordance with standard, recognized,
proper law enforcement procedures used by police departments, domestic
and international, to determine whether an arrest was made with force
under the circumstances.

The Reasons and Bases for my Opinions

The reasons and bases for my opinions are:

a) The materials examined

b) My years of experience as a law enforcement officer and instructor

c) My knowledge of use of force training, procedures, and evaluations

d) My publications, training curriculum, and policies, ensuring the safety
of officers, suspects, and bystanders.
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VII.

Conclusion

My opinions, included in Section V, are that Officer Patterson did not take the
proper officer/suspect safety precautions and did not use proper arrest
control or weapons retention tactics on May 18% 2010. Officer Patterson
used excessive force against Josh Chatwin. Officer Patterson, Officer Harris,
and Office Baugh did not use the proper techniques or training to protect
Josh Chatwin, an intoxicated individual, on concrete, in handcuffs and in
custody, further described as a “prisoner” as defined in the Utah Code
Annotated.

My opinions also include the fact that Officer Patterson and Officer Baugh,
both employees with the Draper City Police Department on May 18% 2010,
both testified that they either did not recall use of force training being
provided to them by Draper City or they had never received use of force
training, as it pertains to an intoxicated person.

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